                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

UNITED STATES OF AMERICA                      )          COLLIER/CARTER
                                              )
       v.                                     )          CASE NO. 1:13-CR-141
                                              )
MARTELL L. JONES                              )



                             REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on June 17, 2014. At

the hearing, defendant entered a plea of guilty to Counts Two and Five of the Indictment in

exchange for the undertakings made by the government in the written plea agreement. On the

basis of the record made at the hearing, I find that the defendant is fully capable and competent to

enter an informed plea; that the plea is made knowingly and with full understanding of each of the

rights waived by defendant; that it is made voluntarily and free from any force, threats, or

promises, apart from the promises in the plea agreement; that the defendant understands the nature

of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

       I therefore recommend that defendant's plea of guilty to Counts Two and Five of the

Indictment be accepted, that the Court adjudicate defendant guilty of the charges set forth in

Counts Two and Five of the Indictment, and that the written plea agreement be accepted at the time

of sentencing. I further recommend that defendant remain in custody until sentencing in this

matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

imposition of sentence are specifically reserved for the district judge.

       The defendant=s sentencing date is scheduled for Thursday, September 25, 2014, at 2:00

pm.

                                                  1



Case 1:13-cr-00141-TRM-CHS            Document 44        Filed 06/18/14      Page 1 of 2         PageID
                                            #: 92
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                                               UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
the plea of guilty in this matter. See 28 U.S.C. '636(b).




                                                  2


Case 1:13-cr-00141-TRM-CHS            Document 44        Filed 06/18/14      Page 2 of 2      PageID
                                            #: 93
